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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NEW YORK


  IN RE HAIN CELESTIAL HEAVY                 Case No. 2:21-cv-678-JS-AYS
  METALS BABY FOOD LITIGATION


  This Document Relates To: All Actions




     REPLY IN FURTHER SUPPORT OF THE MOTION TO APPOINT LABATON
                 SUCHAROW AS INTERIM LEAD COUNSEL




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                                             INTRODUCTION

         Plaintiff Asyia Andrews (the “Andrews Plaintiff” or “Plaintiff”), by and through her

 undersigned counsel respectfully submits this reply in further support of the motion for

 appointment of her counsel, Michael Canty and Carol Villegas of Labaton Sucharow LLP

 (“Labaton Sucharow” or “Proposed Interim Lead Counsel”) as Interim Lead Counsel pursuant to

 Fed. R. Civ. P. 23(g). As a threshold matter, there is no dispute that Proposed Interim Lead

 Counsel amply satisfies the Rule 23(g) factors for appointment as Interim Lead Counsel in this

 action. Nevertheless, this reply responds to three points raised by Plaintiff groups in their

 responses to the Motion of Asyia Andrews to Appoint Labaton Sucharow as Interim Lead

 Counsel:1

        Proposed Interim Lead Counsel has standing to move for and serve as Interim Lead
         Counsel;
        This case does not require a large, complicated leadership structure; and
        Labaton Sucharow’s representation that its investigation will further this case is accurate.

                                                ARGUMENT

         I.       Proposed Interim Lead Counsel Has Standing

         The Stewart Response asserts that the Motion to Appoint Labaton Sucharow as Interim

 Lead Counsel (ECF No. 61-1) is “improper” because Andrews v. Beech-Nut Nutrition Co., No.

 2:21-cv-01704 (E.D.N.Y) (the “Andrews Action”) originally brought claims against several

 Defendants. See Stewart Response at 11. This is incorrect for two reasons. First, as this Court

 is aware, the Andrews Action was consolidated with this action. See ECF No. 90. Second, the

 Court granted leave to amend the complaint so that it asserts claims against only Hain Celestial.




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  Specifically, this reply responds to: (1) Plaintiffs Emily Baccari, Dominick Gross, Heather Hyden, Haley Sams,
 and Vito Scarola’s Opposition to Motions for Leadership Appointment (ECF No. 84) (the “Erin Green Comite
 Response”) and (2) The Stewart Movants’ Omnibus Memorandum of Law in Response to Motions For Appointment
 For Interim Lead Counsel (ECF No. 86) (the “Stewart Response”).


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 Id. The deadline to file the amended complaint in the Andrews Action is June 28, 2021,

 however, for the avoidance of doubt, Proposed Interim Lead Counsel filed the amended

 complaint to the Andrews Action docket today.2 Thus, the argument that Proposed Interim Lead

 Counsel does not have standing is without merit.

            II.      A Committee is Unnecessary and Inefficient

            There is no dispute that Labaton Sucharow, led by Partners Michael Canty and Carol

 Villegas, amply satisfies the Rule 23(g) factors for appointment as lead counsel. There is also no

 dispute that Proposed Interim Lead Counsel has a “track record of success” and that this case

 “simply does not require a large or complicated leadership structure.” Stewart Response at 12;

 Erin Green Comite Response at 1. Accordingly, this Court should not appoint a leadership

 structure consisting of multiple law firms where a more lean and efficient organizational

 structure is better suited to lead this case.

            The Erin Green Comite Response asserts that “The Collective Motions (defined as

 including Labaton Sucharow’s submission) all have a similar problem: they each seek the

 appointment of an unnecessarily large, multi-firm lead counsel structure.” Erin Green Comite

 Response at 1. This is not true for the Labaton Sucharow submission. Proposed Interim Lead

 Counsel’s submission clearly advocates for appointment as sole Lead Counsel with two lawyers

 leading the case—not a bloated multi-firm lead counsel structure.

            The Erin Green Comite Response explains in detail the various inefficiencies that plague

 conglomerate structures, yet it requests that the Court appoint three law firms to leadership roles.

 This makes no sense. Indeed, the case which the Erin Green Comite Response argues is

 “instructive” supports appointing Labaton Sucharow as sole Lead Counsel. In Haynie v. Cornell



 2
     Plaintiff reserves the right to file a consolidated amended complaint after the motions for appointment are resolved.


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 Univ., No. 3:20-CV-467 (MAD/ML), 2020 WL 6043947 (N.D.N.Y. Oct. 13, 2020), the Court

 rejected a multi-firm leadership structure and appointed one law firm as “sole interim lead

 counsel.” 3 Id. at 3. The Court explained that, “appointment of a single lead counsel best serves

 the interests of judicial economy while protecting the interests of the putative class.” Id. Here,

 the Erin Green Comite submission requests a multi-firm leadership structure, while the Labaton

 Sucharow submission requests a single firm leadership structure. Accordingly, the interests of

 judicial economy and the Class are better served by the appointment of Labaton Sucharow.

            III.     Labaton Sucharow Worked to Further this Case Through an Ongoing
                     Investigation

            As described in Proposed Interim Lead Counsel’s submission and response in further

 support of the submission, Labaton Sucharow has dedicated significant time and resources to

 investigating the asserted claims against Hain Celestial. The Stewart Response argues that the

 work Labaton has done to develop this case is “overstated.” Stewart Response at 12. First,

 Labaton Sucharow’s investigation is ongoing. In fact, Labaton Sucharow’s in-house

 investigation team has contacted over 80 former Hain Celestial employees and a drafter of the

 Congressional Report. As the Court and the Stewart movants are undoubtedly aware, after the

 Court decides the pending motions and appoints Lead Counsel, Plaintiff will file an amended

 consolidated complaint. Second, the ongoing investigation and investigative team described in

 Proposed Interim Lead Counsel’s submission supports the point that counsel will continue to

 work to identify and investigate potential claims in this action pursuant to Fed. R. Civ. P.

 23(g)(1)(A)(i). As explained above, the Stewart movants do not dispute that Michael Canty and

 Carol Villegas of Labaton Sucharow’s submission amply satisfied this requirement.

 Additionally, as previously stated, should the Court wish to appt multiple law firms, Labaton


 3
     The Court also appointed local interim counsel. See id. at n.2.


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 Sucharow has worked collaboratively with the law firms Cohen Milstein, Gibbs Law Group, and

 Levi & Korsinsky.

                                        CONCLUSION

        For the foregoing reasons and for the reasons stated in our May 27, 2021 and June 10,

 2021 filings, we respectfully request that the Court appoint Labaton Sucharow LLP as Interim

 Lead Counsel.




 Dated: June 17, 2021
                                                           /s/     Michael P. Canty___
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